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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF FLORIDA
                                 PENSACOLA DIVISION


UNITED STATES OF AMERICA,
ex rel. ROBERT V. SMITH,

       Plaintiff,

v.                                                           Case No. 3:20cv3678/MCR/EMT

JAY A. ODOM; OKALOOSA COUNTY,
BOARD OF COMMISSIONERS,

       Defendants.

______________________________________/


      NOTICE OF APPEARANCE AND DESIGNATION OF EMAIL ADDRESSES

To:    The Clerk of Court and all parties of record

       I am admitted or otherwise authorized to practice in this court, and I appear in this case as

counsel for Defendant, Jay A. Odom. My email designations are as follows:

               Primary:       bgordon@anchorsgordon.com

               Secondary:     cyndi@anchorsgordon.com

       It is requested that the Court and counsel of record serve all pleadings and other papers on

behalf of Defendant, JAY A. ODOM, through the undersigned counsel.

       Dated this 11th day of January, 2021.

                                                      /s/ A. Benjamin Gordon, III
                                                      A. Benjamin Gordon, III
                                                      Florida Bar No. 528617
                                                      AnchorsGordon, P.A.
                                                      2113 Lewis Turner Blvd., Suite 100
                                                      Fort Walton Beach, Florida 32547
                                                      Phone: (850) 863-1974
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